829 F.2d 1120Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael Wayne MONTGOMERY, Plaintiff-Appellant,v.GREENVILLE POLICE DEPARTMENT; Mary Ann Snyder,Administrative Recorder; City of Greenville;Greenville County Detention Center,Defendants-Appellees.
    No. 87-7551
    United States Court of Appeals, Fourth Circuit.
    Submitted July 31, 1987.Decided September 22, 1987.
    
      Michael Wayne Montgomery, pro se.
      David L. Moore, Jr., Love, Thornton, Arnold &amp; Thomason, for appellees.
      Before DONALD RUSSELL, K.K. HALL and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Montgomery v. Greenville Police Department, C/A No. 86-1803 (D.S.C., Feb. 27, 1987).
    
    
      2
      AFFIRMED.
    
    